181 F.2d 96
    Ralph A. BYNUM, Appellant,v.UNITED STATES of America, Appellee.
    No. 13078.
    United States Court of Appeals Fifth Circuit.
    April 20, 1950.
    
      Appeal from the United States District Court for the Southern District of Georgia; Frank M. Scarlett, Judge.
      No appearance entered on behalf of appellant.
      Wm. T. Morton, Asst. U. S. Atty., Augusta, Ga., J. Saxton Daniel, U. S. Atty., Savannah, Ga., for appellee.
      Before HUTCHESON, Chief Judge, and McCORD and WALLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The judgment of the lower Court is Affirmed.
    
    